Case 3:17-cv-00209-BRM-LHG Document 232 Filed 11/24/20 Page 1 of 2 PageID: 8974




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

                                                         3:17-cv-209 (BRM) (LHG )
  IN RE NOVO NORDISK SECURITIES
  LITIGATION                                             CLASS ACTION

                                                             ORDER AMENDING CERTAIN
                                                               DISCOVERY DEADLINES



        THIS MATTER having come before the Court on November 5, 2020, for an initial

 conference pursuant to Fed. R. Civ. P. 16; Donald Ecklund, Esq., of Carella, Byrne, Cecchi,

 Olstein, Brody & Agnello, P.C., Salvatore J. Graziano, Esq., Katherine Sinderson, Esq., and

 Adam D. Hollander, Esq., of Bernstein Litowitz Berger & Grossmann, and Jeffrey Stein, Esq.,

 and Luke Brooks, Esq., of Robbins Geller Rudman & Dowd LLP, appearing as Counsel for

 Plaintiffs; Brandon Grzandziel, Esq., of Saxena White P.A. appearing as Member of Plaintiffs’

 Executive Committee; James P. Rouhandeh, Esq., Patrick W. Blakemore, Esq., and Daniel S.

 Magy, Esq., of Davis Polk & Wardwell LLP and Samuel Isaac Portnoy, Esq., and Michael

 Griffinger, Esq., of Gibbons, P.C., appearing on behalf of Defendants; the Court having set

 certain deadlines with the participation of counsel; and for good cause shown,

        IT IS on this 23rd day of November, 2020,

        ORDERED that Plaintiff shall respond to contention interrogatories by no later than

 December 4, 2020;

        ORDERED that, as discussed during the telephonic conference, Defendants shall make

 any additional discovery productions by no later than December 4, 2020;

        ORDERED that a telephonic status shall take place on January 19, 2021, at 11:30 a.m.

 EST. Counsel for Plaintiffs to initiate the call.


                                                     1
Case 3:17-cv-00209-BRM-LHG Document 232 Filed 11/24/20 Page 2 of 2 PageID: 8975




        ORDERED that, unless explicitly stated herein, the present Order shall have no effect on

 other matters set forth in the prior scheduling orders.




                                            ______________________________________
                                            HON. LOIS H. GOODMAN, U.S.M.J.




                                                   2
